                 Case 19-10976              Doc 9       Filed 09/05/19            Entered 09/05/19 14:50:18                          Desc Main
                                                           Document               Page 1 of 2
      Fill in this information to identify the case:

                     Thrush, Inc.
                     Thrush Aircraft, Inc
      Debtor name __________________________________________________________________

                                               Middle
      United States Bankruptcy Court for the: ______________________              Georgia
                                                                     District of _________
                                                                              (State)
                                                                                                                                          X Check if this is an
                                                                                                                                          
      Case number (If known):     19-10976
                                _________________________
                                                                                                                                               amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                   12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete          Name, telephone number, and      Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code    email address of creditor        (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                            contact                          debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                             professional          unliquidated,   total claim amount and deduction for value of
                                                                             services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                             government
                                                                             contracts)
                                                                                                                   Total claim, if    Deduction for       Unsecured
                                                                                                                   partially          value of            claim
                                                                                                                   secured            collateral or
                                                                                                                                      setoff

1     GE Aircraft Engines
      Beranových 65, 19900 Praha 18                                                                                                                      $5,258,854.81
      Letňany, 199 00
      CZECHIA
     Pratt & Whitney
2                                                                                                                                                        $4,016,258.51
     1000 Boulevard Marie-Victorin
     Longueuil, QC J4G 1A1
     CANADA

3    AB&T National Bank
                                                                                                                                                           $736,325.75
     PO Box 71269
     Albany GA 31708


4    Trumpf Finance
     480 Washington Blvd 24th Floor,                                                                                                                       $576,956.10
     Jersey City, NJ 07310

     GDOL Safety Engineering
5                                                                                                                                                          $387,500.00
     2 Martin Luther King Jr. Drive
     West Tower. Suite 920
     Atlanta GA 30334

6    Grant Thornton LLP
                                                                                                                                                           $377,881.89
     33562 Treasury Center
     Chicago IL 60694-3500


7    Transland-Texas LLC
                                                                                                                                                           $304,300.84
     1206 Hatton Rd Suite A
     Wichita Falls TX 76302

8    IPFS Corporation                                                                                                                                      $280,443.88
     PO Box 100391
     Pasadena CA 91189-0391




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                                                         Document            Page 2 of 2

    Debtor          Thrush
                    Thrush, Aircraft,
                            Inc.      Inc.
                 _______________________________________________________                                                19-10976
                                                                                               Case number (if known)_____________________________________
                 Name




     Name of creditor and complete         Name, telephone number, and   Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code   email address of creditor     (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                           contact                       debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                         professional           unliquidated,   total claim amount and deduction for value of
                                                                         services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                         government
                                                                         contracts)
                                                                                                                Total claim, if    Deduction for       Unsecured
                                                                                                                partially          value of            claim
                                                                                                                secured            collateral or
                                                                                                                                   setoff

9    Winthrop Resources Corp.                                                                                                                          $250,423.50
     PO Box 650
     Hopkins MN 55343-0650


10 Hartzell Propeller Inc
                                                                                                                                                       $225,016.31
   One Propeller Place
   Piqua OH 45356

11 LEAF Capital Funding, LLC
   2005 Market Street, 14th Floor                                                                                                                      $205,566.87
   Philadelphia PA 19103


12 Emergys                                                                                                                                             $169,570.93
   801 E. Campbell Road, Ste 690
   Richardson TX 75081

   Wells Fargo Equipment Financing
13 Remittance: NW-8178
                                                                                                                                                       $168,274.63
   PO Box 1450
   Minneapolis MN 55485-8178

14 Turbine Conversions Ltd
   18155 120th Ave                                                                                                                                     $106,304.00
   Nunica MI 49448


15 Aviall                                                                                                                                                $97,896.76
   PO Box 842267
   Dallas TX 75284-2267

16 ACR Machine Inc.
                                                                                                                                                         $94,984.82
   21 N. 10th Ave.
   Coatesville PA 19320-3382


17 Oxford Global Resources
   PO Box 3256                                                                                                                                           $89,639.63
   Boston MA 02241-3256


18 AG Nav Inc.
   30 Churchill Drive                                                                                                                                    $87,031.00
   Barrie, Ontario L4N 8Z5
   CANADA

19 KPIT
                                                                                                                                                         $77,186.67
   PO Box 398227
   San Francisco CA 94139-8227

20 Travelers
   CL Remittance Center                                                                                                                                  $58,143.74
   PO Box 660317
   Dallas TX 75266-0317




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